 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number            ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                                                                                             Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                             _________________

 Last 4 digits of any number you use to identify the debtor’s account:                 ____ ____ ____ ____

 Property address:                ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                        (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                    page 1
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Debtor 1        _______________________________________________________                       Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                   __________________________________________________                         Date    ____/_____/________
                   Signature




 Print             _________________________________________________________                  Title   ___________________________________
                   First Name                      Middle Name         Last Name




 Company           _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           _________________________________________________________
                   Number                 Street


                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone     (______) _____– _________                                                  Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                               CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Response to Notice of Final Cure was served
on the 20TH day of September, 2019. Said Response was filed electronically. Service was
accomplished by the method and to the following as indicated.


                                               By: /s/ Richard Anderson
                                                  RICHARD E. ANDERSON




BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL, POSTAGE PREPAID:

DEBTOR
Mark G. Rumpza
26902 N. 66th Lane
Phoenix, AZ 85083

DEBTOR
Rhonda D. Rumpza
26902 N. 66th Lane
Phoenix, AZ 85083


DEBTORS’ ATTORNEY
Ellen K Lawson
Attoney At Law PLC
10632 N. Scottsdale Road., B334
Mesa, AZ85254

TRUSTEE
Edward J. Maney
101 N. First Avenue, Suite 1775
Phoenix, AZ 85003




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U.S. TRUSTEE
U.S. Trustee
230 North First Avenue, Suite 204
Phoenix, AZ 85003

CREDITOR ATTORNEY



DIANE L. DRAIN
LAW OFFICE OF D.L. DRAIN,                        Diane L. Drain
P.A.                                             2375 East Camelback
2375 E. CAMELBACK RD.                            Suite 600
SUITE 600                                        Phoenix, AZ 85016
                                    representing
PHOENIX, AZ 85016                                602.264.7106
602-246-7106                                     602.249.1969 (fax)
602-249-1969 (fax)                               ddrain@dianedrain.com
DDrain@DianeDrain.com                            (Mediator)
 Assigned: 07/22/2017
Christopher J. Dylla                             CITIZENS BANK OF PENNSYLVANIA,
Office of the Arizona Attorney                   ITS ASSIGNEES AND/OR SUCCESSORS,
General                                          BY AND THROUGH ITS SERVICING
2005 N Central Ave                               AGENT OCWEN LOAN SERVICING,
Phoenix, AZ 85004-1592                           LLC
                                    representing
602-542-8389                                     c/o McCarthy & Holthus, LLP
602-542-4273 (fax)                               McCARTHY HOLTHUS & LEVINE, P.C.
christopher.dylla@azag.gov                       1770 Fourth Avenue
 Assigned: 10/07/2014                            San Diego, CA 92101
                                                 (Creditor)
PHILIP J GILES                                   Black Hills Federal Credit Union
SAN DIEGO, CA 92177-0933                         Pite Duncan, LLP
giles.phil@gmail.com                             4375 Jutland Drive, Suite 200
                                    representing
 Assigned: 09/22/2014                            Po Box 17933
  TERMINATED: 01/13/2017                         San Diego, CA 92177-0933
                                                 (Creditor)
 Assigned: 03/01/2016                            Fay Servicing, LLC
                                                 Aldridge Pite, LLP
                                    representing 4375 Jutland Drive, Suite 200
                                                 PO Box 17933
                                                 San Diego, CA 92117




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LAKSHMI JAGANNATH                            CITIZENS BANK OF PENNSYLVANIA,
McCarthy Holthus, LLP                        ITS ASSIGNEES AND/OR SUCCESSORS,
8502 E. Via De Ventura, Suite                BY AND THROUGH ITS SERVICING
200                                          AGENT OCWEN LOAN SERVICING,
Scottsdale, AZ 85258                         LLC
                                representing
480302-4115                                  c/o McCarthy & Holthus, LLP
6029530101 (fax)                             McCARTHY HOLTHUS & LEVINE, P.C.
bknotice@mccarthyholthus.com                 1770 Fourth Avenue
 Assigned: 06/30/2015                        San Diego, CA 92101
                                             (Creditor)
 Assigned: 07/20/2015                        Citizens Bank of Pennsylvania, its assignees
                                             and/or successors, by and through its
                                             servicing agent Ocwen Loan Servicing,
                                             LLC
                                representing c/o McCarthy & Holthus, LLP
                                             8502 E. Via De Ventura
                                             Suite 200
                                             Scottsdale, AZ 85258
                                             (Creditor)

MARK W. LISCHWE
MARK W. LISCHWE, P.C.
1930 S ALMA SCHOOL RD
                                             MARK G RUMPZA
#A115
                                             26902 N 66TH LN
MESA, AZ 85210                  representing
                                             PHOENIX, AZ 85083
602-252-7552
                                             (Debtor)
602-391-2233 (fax)
m.lischwe@att.net
 Assigned: 08/19/2014
                                             RHONDA D RUMPZA
                                             26902 N 66TH LN
                                             PHOENIX, AZ 85083
                                             (Joint Debtor)




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LEONARD J. MCDONALD,
JR.
TIFFANY & BOSCO, P.A.
SEVENTH FLOOR
CAMELBACK ESPLANADE II
                                             JPMORGAN CHASE BANK, N.A.
2525 E. CAMELBACK ROAD        representing
                                             (Creditor)
PHOENIX, AZ 85016
(602) 255-6000
602-255-0103 (fax)
ecf@tblaw.com
 Assigned: 09/22/2014
LEONARD J. MCDONALD,
JR.
TIFFANY & BOSCO, P.A.
SEVENTH FLOOR
CAMELBACK ESPLANADE II                     U.S. Bank National Association, as trustee
2525 E. CAMELBACK ROAD        representing for NRZ Pass-Through Trust V
PHOENIX, AZ 85016                          (Creditor)
602-255-6000
602-255-0192 (fax)
ljm@tblaw.com
  Assigned: 10/18/2016
JOSEPHINE E SALMON
ALDRIDGE PITE, LLP
4375 JUTLAND DRIVE                         NRZ Pass-Through Trust V, U.S. Bank
P.O. BOX 17933                             National Association not in its individual
SAN DIEGO, CA 92177-0933      representing capacity but solely as passthrough trust
858-750-7619                               trustee
619-590-1385 (fax)                         (Creditor)
ecfazb@aldridgepite.com
 Assigned: 01/12/2017
Assigned: 01/13/2017                       Black Hills Federal Credit Union
                                           Pite Duncan, LLP
                                           4375 Jutland Drive, Suite 200
                              representing
                                           Po Box 17933
                                           San Diego, CA 92177-0933
                                           (Creditor)
                                      /s/ Richard E. Anderson
                                      RICHARD E. ANDERSON




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